
Pope, Judge.
Appellant’s notice of appeal was filed 33 days following the trial court’s denial of his motion for new trial. “ ‘This court is without jurisdiction where the notice of appeal is not timely filed in accordance with the statutory requirements of Code Ann. § 6-803----Smith v. State, 140 Ga. App. 492 (231 SE2d 493) [(1976)]. See also Code Ann. § 6-804....’ Freeman v. State, 154 Ga. App. 344 (268 SE2d 727) [(1980)].” Dunn v. State, 156 Ga. App. 483 (274 SE2d 828) (1980).

Appeal dismissed.


Quillian, C. J., and McMurray, P. J., concur.

